                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

ROBERT H. ROGERS,                             )
                                              )
                     Plaintiff,               )
                                              )
       v.                                     )          1:20CV32
                                              )
EMERALD CAMPBELL, et al.,                     )
                                              )
                     Defendant(s).            )

                                       JUDGMENT

       The Recommendation of the United States Magistrate Judge was filed with the Court

in accordance with 28 U.S.C. § 636(b) and, on February 6, 2020, was served on the parties in

this action. (ECF Nos. 4, 5.) No objections were filed within the time prescribed by § 636.

       The Court hereby adopts the Magistrate Judge’s Recommendation.

       IT IS HEREBY ORDERED AND ADJUDGED that this action is DISMISSED

pursuant to 28 U.S.C. § 1915A for failing to state a claim upon which relief may be granted.

       This, the 4th day of March 2020.


                                           /Loretta C. Biggs_______
                                           United States District Judge




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